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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                              SOUTHERN DIVISION

UNITED STATES OF AMERICA

V.                                                  CRIMINAL NO. 1:06cr31LG-JMR-3

MICHAEL FORTENBERRY


           AMENDED AGREED PRELIMINARY ORDER OF FORFEITURE

       Presently, there is a motion to amend the Agreed Preliminary Order of Forfeiture

pending before the court. The motion seeks to change the count to which the Defendant,

Michael Fortenberry, pled guilty to from Count 1 to Count 4. The instant motion is unopposed

and the amendment sought by that motion is proper and should be allowed.

       IT IS, THEREFORE, ORDERED AND ADJUDGED AS FOLLOWS:

              1. The Agreed Preliminary Order of Forfeiture entered herein on September 6,

2006, is hereby amended and all of the right title and interest of the defendant, MICHAEL

FORTENBERRY, in and to the following property is hereby forfeited to the UNITED

STATES OF AMERICA:

                                  PERSONAL PROPERTY

                             $1,700.00 in U.S. Currency

                             2003 Chevrolet Silverado SS C150
                             VIN: 2GCEK19N031367736

           2. The United States Attorney is directed to commence the ancillary proceeding

required by Title 21, United States Code, Section 853(n), by submitting to the United States

Marshal for publication the proper notice, issued by the Clerk, and the Marshal shall cause

such notice to be published once a week for three consecutive weeks in the Sun Herald, a
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newspaper published in Harrison County, Mississippi.

              3. Further, pending completion of the said ancillary proceeding or further order

of the Court, the Marshal or any other federal law enforcement agency is directed to forthwith

take and/or maintain possession of the above-described property.

              4. All findings and adjudications of the original Agreed Preliminary Order of

Forfeiture and Plea Agreement are incorporated herein by reference.

       SO ORDERED AND ADJUDGED this the 29th day of September, 2006.




                                                   LOUIS GUIROLA, JR.
                                                   UNITED STATE DISTRICT JUDGE
